            Case 3:13-cr-02456-MMA                       Document 88              Filed 10/28/13              PageID.274              Page 1 of 2

      "I>,AO 245B (CASD) (Rev. 1112) Judgment in a Criminal Case
                Sheet I



                                               UNITED STATES DISTRICT COURT
                                                                                                                         13         28           9: 28
                                                   SOUTHERN DISTRICT OF CALIFORNIA
                     UNITED STATES OF AMERICA                                      JUDGMENT IN A CRIMINAL CASE                                        ; F;,.~?
                                         v.                                       (For Offenses Committed On or After November 1, 1987)               ~

               HUMBERTO CONTRERAS-TAVERA (03),                                     Case Number: 13CR2456-MMA                                        O£PUT v

                                                                                   Ira Lee Plummer
                                                                                  Defendant's Attorney
      REGISTRAnON NO. 40053298

     o
     THE DEFENDANT:
      181pleaded guilty to count(s) THREE OF THE INFORMATION
      o was found guilty on count(s)_ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
            after a plea of not guilty.
            Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):
                                                                                                                                           Count
      Title & Section                         Nature of Offense                                                                           Number(s)
8:1326(a) and (b)                       Deported Alien Found in the United States                                                          3




        The defendant is sentenced as provided in pages 2 through               _2_ _ of this judgment. The sentence is imposed pursuant
 to the Sentencing Reform Act of 1984.
  o   The defendant has been found not gUilty on eount(s)

  181 Count(s) Remaining of the Infonnation                  ----------------------------------------------
                                                                         is 0 arel8l dismissed on the motion of the United States.
  181 Assessment: $100.00

  181 Fine waived                                    o Forfeiture pursuant to order filed                                      , included herein.
       IT IS ORDERED that the defendant shall notifY the United States Attomey for this district within 30 days of any change of name, residence,
 or mailing address until all fmes, restitution, costs, and special assessments imposed by this judgment are fully paid. If ordered to pay restitution, the
 defendant shall notifY the court and United States Attorney ofany material change in ~ defendant's economic eirc




                                                                              UNITED STATES DISTRICT JUDGE



                                                                                                                                               13CR2456-MMA
     Case 3:13-cr-02456-MMA                         Document 88            Filed 10/28/13         PageID.275            Page 2 of 2

AO 245B (CASD) (Rev. lIll)   Judgment in a Criminal Case
            Sheet 2 - Imprisonment

                                                                                                    Judgment - Page     2     of       2
 DEFENDANT: HUMBERTO CONTRERAS-TAVERA (03),
 CASE NUMBER: 13CR2456-MMA
                                                            IMPRISONMENT
         The defendant is hereby committed to the custody of the United States Bureau ofPrisons to be imprisoned for a term of
         EIGHTEEN (18) MONTHS



    D Sentence imposed pursuant to Title 8 USC Section 1326(b).
    181 The court makes the following recommendations to the Bureau of Prisons:
         COURT RECOMMENDS PLACEMENT IN THE WESTERN REGION.




    D The defendant is remanded to the custody of the United States Marshal.
    D The defendant shall surrender to the United States Marshal for this district:
            Oat                                     Da.m.    Op.m.         on

               as notified by the United States Marshal.

    D The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
       D before
                 -------------------------------------------------------------------------
       D as notified by the United States Marshal.
          o    as notified by the Probation or Pretrial Services Office.


                                                                RETURN

 I have executed this judgment as follows:

         Defendant delivered on                                                       to

 at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ , with a certified copy ofthis judgment.


                                                                                                  UNITED STATES MARSHAL

                                                                      By
                                                                             ------------=D=EP=UT~Y=UNI~=TE=D~S=T=A=T=E=S=MAR===SI=~~-----------




                                                                                                                            13CR2456-MMA
